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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

SAMSUNG ELECTRONICS AMERICA,                       §
INC.,                                              §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §
                                                   §
YANG KUN “MICHAEL” CHUNG,                          §
THOMAS PORCARELLO, YOON-                           §    CIVIL ACTION NO. 3:15-cv-04108-D
CHUL “ALEX” JANG, JIN-YOUNG                        §
SONG, ALL PRO DISTRIBUTING,                        §
INC.,                                              §
                                                   §
         Defendants.                               §


                            ANSWER OF DEFENDANT YANG KUN
                            “MICHAEL” CHUNG TO MOTION FOR
                              SANCTIONS FOR SPOLIATION OF
                                       EVIDENCE

         Defendant YANG KUN “MICHAEL” CHUNG (“Chung”) files this Answer opposing the

Motion for Sanctions for Spoliation of Evidence file by Plaintiff Samsung Electronics America, Inc.

on March 1,2019.

                                    FACTUAL BACKGROUND

         1.      Chung states that as a pro-se litigant, he has not it has taken him additional time

to become familiar with his legal defenses, and is only now aware of his legal defenses by

Google search.

         2.      Chung testified that he kept yearly diaries in “small books” from 2011 to 2015

and that he relied upon those diaries in preparing his First Amended Answer prepared in Korea

and filed in Sep. 29, 2017.




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       3.      Chung has never reviewed yearly diaries again since he filed the First Amended

Answer in Sep. 29, 2017 and has spent all of his time to make money for his family.

       4.      Chung had thought that his diaries had been in his traveling bag after his return

from Korea, however, he has found he doesn't have diaries.



       WHEREFORE, Chung prays that Court deny Motion for Sanctions for Spoliation of

Evidence file by Plaintiff Samsung Electronics America, Inc.




                                             Respectfully submitted,


                                               /s/ Yang Kun “Michael” Chung
                                               Yang Kun “Michael” Chung
                                               ykchung111@gmail.com
                                               5506 Corot Ct.,
                                               Fairfax, VA 22032




                                CERTIFICATE OF SERVICE

        I hereby certify that on March 11, 2019, I electronically filed the foregoing paper(s)
with the Clerk of the Court using the ECF system which will send notification to all parties of
record.


                                               /s/ Yang Kun “Michael” Chung
                                               Yang Kun “Michael” Chung




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